Case 2:06-cv-00535-ROS Document 17-4 Filed 03/06/06 Page 1of 4

05.20.03 Page 4 o1 /

"It's too sexual, too raunchy. It's just filth. At times, there's nothing there that you'd want your
children to see, And it's nothing good for adults to see, either.”

“The moment that it does start to go too far and it just continues and I don't see any change,
then I'll have to bow out." (The questions, I suppose, are just how much farther out does it
have to go to be judged for exactly what it has long been and already is; and will Steve refuse
to bow to pressure to jump back into what he knows, himself, is raunch and filth?)

Ted Dibiase’s site:

“Ted believes that now, when three of the top five shows on cable television are pro wrestling,
and the quality and content of most of the wrestling being viewed today is disgusting...”

“Ted believes the youth of our nation are in for the fight of their lives. He wants to help them
avoid being poisoned by the value system of today's culture and not be influenced by the
barrage of filth and garbage being thrown at them by today's society. (Movies, TV, etc.)”

“Ted wants to challenge men to be all they can truly be and not just some self-glorified "macho
man." He wants to challenge them to be real men, godly men. A godly man is a man who will
be a servant in his home and community. He is a man who will discover his unique destiny
and enter today's cultural warfare and make an impact for God's glory. He is a man who will
be there for his wife and children, assuming the role of spiritual leader of his family as called
on by God to do so, and not bailing out when the going gets tough. Ted wants men to know
that a real man is a man who will strive to be a leader by setting a godly example and not
merely someone who just follows the crowd.”

Enough for us to know yet?

Let me tell what is enough to unequivocally solve the dilemma. Enough is the always asked
question to those who are born-again: “How do you justify being in the business while
following your faith, how do you square one with the other?” That's it. There is no more proof
necessary. That the question always get asks is the answer, And when further proof is shakily
provided -- the line has been crossed over into hypocrisy, deceit and denial. At that point, one
set of the proverbial two sets of footprints in the sand are fading away.

Does the morality of your belief system, Joe, survive scrutiny while you willingly participate in
programming that on a whole is judged immoral by the very standards you say you look to to
guide your life? Or is that determination, too, based on faith?

Just what kind of sliding scale do you use to measure what you condemn yet also condone?
It'd be interesting to see for many of those who are paying attention to you.

I know from my own reading of The Book, there are many stories -- allegorical or not —

illustrating more courageous behaviors and tougher sacrifices than refusing to participate in
an industry, literally and figuratively, hell-bent, at this time, on being creatively immoral and

http://www.ultimatewarrior.com/052003.htm 06/24/2005
Case 2:06-cv-00535-ROS Document 17-4 Filed 03/06/06 Page 2 of 4

05.20.03 Page > or /

destructive to young minds. Are you want for courage? discipline? Perhaps you should
reevaluate the depth of your own faith to find what you need to do what is right instead of
what is obvious rationalization.

T reckon, as do many others in the audience, somehow you're making it all fit,” not fora
higher purpose but your own,

You have a greater responsibility, Joe, to explain yourself. The Book — again, where you find
the beliefs you say you profess -- speaks volumes on being an example of godly behavior. In
the position of influencing others, esp. those young minds, you should explain yourself, Tell
us, not just superficially and dismissively but thoroughly and deeply with conviction, how
you make the contradiction work. God endows us with the gifts empowering us — he doesn’t

expect, or respect, that we use them as excuses. You are and you're letting yourself get away
with it.

True, so we find here at this thoughtful journey’s end, there is ignorance... and hypocrisy and
envy — even flat-out deceit and dishonesty — but it ain’t mine, brother —- it ain't mine.

Look, Joe, take some advice from a guy who’s truly invested in growing up. One day you're
going to hit a wall because you're living fradulently, and your an enabler to others ta do so as
well.

You and others with the same hypocritical born-again gimmick want to fool yourselves that
your one of the few standing up to the tide of degeneracy and immorality. No you're not.
Aiding and abetting is what you’re doing. WWE's machination machine is a monster none of
you control. You do your thing, thinking that you're a kind of moral corrective, and WWE is
doing 50 degenerate and immoral things (at least) behind your back having laughs a-mile-
minute disrespecting you and what you believe. You’re conning yourself if you think
otherwise, and when you choose to play the game, the biggest con ends up being that you are
conning everyone else.

Whatever is degenerate, debased and immoral out there in the world, all that you wouldn't
want showing up in your own backyard in your own loved ones faces (no list is necessary,
pick up a newspaper or watch the news), you and people like you are enabling it by preaching
one thing and practicing another. Your ability to rationalize the irrefutable moral/ immoral
contradiction is an example set that is an example learned that is an example replicated. Your
example is that you are not man enough to find the courage, the self-discipline or the strength
in faith to do anything beyond being a follower, a blind one at that. What you willingly refuse
to see, all young minds and eyes are upon. You are doing nothing but standing behind your
faith, hiding behind the face of God, The Book could also tell you a great deal about shame,
Joe. You should really read it.

Keep your luck, Joe. ] don't believe in it and you need it worse than I.

[have to run, before 1 do 1 want to address an email making the rounds out there written by a

http://www.ultimatewarrior.com/052003.htm 06/24/2005
Case 2:06-cv-00535-ROS Document 17-4 Filed 03/06/06 Page 3 of 4

05.20.03 Page 6 ot /

former WWE employee making fallacious assertions.

Let me begin by saying the writer of this email couldn't groom my groin hairs — he doesn’t
have the skills. A former writer for the WWE he claims to be -- let us be clear, son, when I did
my thing guys like you -- writers — weren't even an idea.

Funny, well over 12 years after last being in the ring with Rick Rood, this former WWE
employee now claims Rick took me to the mat outside the ring, and Curt Hennig would have
done worse to me. How creative to be the first one to come up with that idea -- one wrestler
having a beef outside the ring with another wrestler. Absolutely Brilliant. No wonder you're
out of work, and freelancing with grab-my-ankles-like-this?-am-I-bent over-far-enough-yet?
newsletter parasites. You know the locker rooms at events are generally full — duh, the rest of
the card — any chance anyone who isn’t deader than a drugged, squished rat is able to verify
this dream you had? A little Jayson Blair advice -- run out and make someone up...quick, I'll
wait...the things I do to be a nice guy.

I mean, really, too many people mistake my congeniality for timidity. What's up with that?
Ask yourselves -- a guy without any connections in the wrestling business rises up through all
the real killers to its top -- boy, I really must be a wuss, a guy who would just let others piss-
slap him, a guy fearful of physical contact, a 280 pound guy who would just lay down and let
others beat him. Man, its a wonder I survived; people must have really been watching my back
for me. I never knew I was that special then. Gee, thanks, guys. Love you, too, man.

But, to be a good sport I tell you what, you dig up the deteriorating stiffs, and dig up that
murdered Davey Boy, too. Put all your creative questions to them face-to-skull and each time
their bony mandibles articulate “But, it's true,” I'll be embarrassingly caught in not fessing up
to what you claim. And to make it more worth the wrestling world’s while, I agree to fight all
three of them at the same time while we film a “Weekend at Warrior's” version of Weekend at
Bernie's.”

Look, my sense, and sense of humor, is sharper than yours. Give it a break. Entertain yourself -
- go sit by a paper shredder and get rid of your worthless ideas and inutile newsletters, I don't
have the time to be a flyswatter, You are all just pissed off because I haven't died, and, worse,
that lam not afraid to.

Let me end by thanking all of you who disparage me most, for your efforts are in vain, Your
attempts have only increased the depth of legitimate curiosity others have to find out for
themselves who I truly am and what I'm truly made of. As a consequence, my audience grows
for speaking engagements and the volume of my voice spreads farther and farther. Appreciate
it.

Two, five, ten years from now, all the guys 40-50-60! years of age are still going to be trying to
“fit” in, or working as agents, while I will be well into an even more successful career that will
motivate and stimulate me throughout the entirety of my lifetime. It’s easy for someone who
has being doing a “work” their whole life to put on a feigned happy face. But the truth we all

http://www.ultimatewarrior.com/052003.htm 06/24/2005
Case 2:06-cv-00535-ROS Document 17-4 Filed 03/06/06 Page 4 of 4

05.20.03 Page / ot /

know is that, those guys who have gone back to Vince are sick at themselves on the inside,
disgusted at what they really are, know that when it comes to real, honorable character they
don't have any of the kind that makes you truly proud to be who you are. Whatever miniscule
amount they can drum up is a work. A life working yourself — now there's a real goal.

Your Founding Father of Ring Intensity, Always Believe —- Warrior

BACK TO VAULT

BACK TO MIND

http://www.ultimatewarrior.com/052003.htm 06/24/2005
